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                          UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF SOUTH CAROLINA

NAUTILUS INSURANCE COMPANY,               )                Case No.: 2:22-cv-1307-RMG
                                          )
                        Petitioner,       )
                                          )
      vs.                                 )
                                          )                 ORDER OF PROTECTION
RICHARD ALEXANDER MURDAUGH, SR.,          )
CORY FLEMING, MOSS & KUHN, P.A.,          )
CHAD WESTENDORF, PALMETTO STATE           )
BANK and THE UNITED STATES OF             )
AMERICAN.,                                )
                                          )
                        Respondents.      )
_________________________________________ )


        THIS MATTER COMES BEFORE ME upon the request of Thomas P. Gressette, Jr.

 for protection from having to appear at any court proceedings or other legal proceedings in the

 above-referenced matter to allow for a family vacation from May 22, 2023 to June 2, 2023

 and August 2, 2023 to August 4, 2023.

        NOW, THEREFORE, for good cause shown, it is hereby ORDERED, ADJUDGED

 AND DECREED that Thomas P. Gressette, Jr. shall be, and hereby is, excused and protected

 from having to appear at any court proceedings, trial, motion hearings, bar meetings,

 depositions, or other legal proceedings in this matter from: May 22, 2023 to June 2, 2023 and

 August 2, 2023 to August 4, 2023.

        IT IS SO ORDERED.

Dated: _____________                        ______________________________________
                                            Richard M. Gergel
                                            United States District Court
